 Case 1:25-cv-10548-MJJ        Document 62    Filed 03/13/25    Page 1 of 27




                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


STATE OF CALIFORNIA;
COMMONWEALTH OF
MASSACHUSETTS; STATE OF NEW
JERSEY; STATE OF COLORADO; STATE
OF ILLINOIS; STATE OF MARYLAND;
STATE OF NEW YORK; and STATE OF
WISCONSIN,

       Plaintiffs,
                                              Case No. 1:25-cv-10548
                     v.

U.S. DEPARTMENT OF EDUCATION;
DENISE CARTER, in her official capacity
as former Acting Secretary of Education and
current acting Chief Operating Officer,
Federal Student Aid; LINDA MCMAHON,
in her official capacity as Secretary of
Education,

       Defendants.



MEMORANDUM IN SUPPORT OF PLAINTIFF STATES’ OPPOSITION TO
       DEFENDANTS’ EMERGENCY MOTION TO STAY
          Case 1:25-cv-10548-MJJ                          Document 62                 Filed 03/13/25               Page 2 of 27




                                              TABLE OF CONTENTS

                                                                                                                                   Page


Introduction ........................................................................................................................ 1
Argument ........................................................................................................................... 2
           A.         A Stay Is Not Warranted Because This Court Correctly Found That
                      Plaintiffs Were Likely to Succeed on Their Claim That Defendants
                      Failed to Provide the Required Reasoned Explanation and Failed to
                      Consider Reliance Interests, in Violation of the APA. .............................. 4
                      1.          The Department Relies on Impermissible Post-Hoc
                                  Rationalizations in Seeking a Stay of the TRO. ............................ 8
                      2.          Contrary to the Department’s Assertions, the TRO Was
                                  Properly Granted as This Is Not an Unreviewable Matter of
                                  Agency Discretion. ........................................................................ 9
                      3.          The TRO Was Properly Granted Because the Tucker Act
                                  Does Not Divest This Court of Jurisdiction. ................................ 12
                      4.          Remand Is Not Appropriate at This Early Stage. ........................ 15
           B.         The Court Correctly Found That the Balance of Equities Heavily
                      Favors Plaintiff States, and Thus, a Stay of the TRO Is Not
                      Warranted. ................................................................................................ 16
Conclusion ....................................................................................................................... 19




                                                                    i
          Case 1:25-cv-10548-MJJ                       Document 62               Filed 03/13/25              Page 3 of 27




                                        TABLE OF AUTHORITIES

                                                                                                                            Page

Cases

Almeida-Leon v. WM Cap. Mgmt., Inc.,
  No. 20-2089, 2024 WL 2904077 (1st Cir. June 10, 2024) ................................................ 3

Alpharma, Inc. v. Leavitt,
   460 F.3d 1 (D.C. Cir. 2006) .............................................................................................. 6

Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget,
  No. CV 25-239 (LLA), 2025 WL 597959 (D.D.C. Feb. 25, 2025) ................................ 19

Am. Fed’n of Gov’t Emps., Local 2924 v. Fed. Labor Relations Auth.,
  470 F.3d 375 (D.C. Cir. 2006) .......................................................................................... 9

Amerijet Int’l, Inc. v. Pistole,
  753 F.3d 1343 (D.C. Cir. 2014) ........................................................................................ 5

Ark. Tchr. Ret. Sys. v. State St. Bank & Tr. Co.,
  527 F. Supp. 3d 40 (D. Mass. 2021). ................................................................................ 3

Bowen v. Massachusetts,
  487 U.S. 879 (1988). ....................................................................................................... 14

Calvary Chapel of Bangor v. Mills,
  984 F.3d 21 (1st Cir. 2020). .............................................................................................. 3

Castellini v. Lappin,
  365 F. Supp. 2d 197 (D. Mass. 2005) ............................................................................. 12

Crowley Gov't Servs., Inc. v. Gen. Servs. Admin.,
  38 F.4th 1099 (D.C. Cir. 2022) ....................................................................................... 14

Dep’t of Commerce v. New York,
  588 U.S. 752 (2019) .................................................................................................... 9, 10

DHS v. Regents of the Univ. of Cal.,
  591 U.S. 1 (2020). ............................................................................................................. 6

Does 1-3 v. Mills,
  39 F.4th 20 (1st Cir. 2022) ................................................................................................ 2




                                                                 ii
          Case 1:25-cv-10548-MJJ                      Document 62               Filed 03/13/25             Page 4 of 27




                                       TABLE OF AUTHORITIES
                                             (continued)
                                                                                                                       Page

Healthy Teen Network v. Azar,
  322 F. Supp. 3d 647 (D. Md. 2018) ............................................................................... 10

Int’l Assoc. of Machinists and Aerospace Workers v. E. Airlines,
   925 F.2d 6 (1st Cir. 1991). .............................................................................................. 19

Katz v. Cisneros,
  16 F.3d 1204 (Fed. Cir. 1994) ................................................................................... 13, 15

King County v. Azar,
  320 F. Supp. 3d 1167 (W.D. Wash. 2018) .......................................................... 10, 11, 12

Lincoln v. Vigil,
   508 U.S. 182 (1993) .................................................................................................. 10, 12

Massachusetts v. Nat'l Insts. of Health,
  No. 25-CV-10338, 2025 WL 702163 (D. Mass. Mar. 5, 2025). ....................... 6, 9, 12, 14

Megapulse, Inc. v. Lewis,
  672 F.2d 959 (D.C. Cir. 1982). ........................................................................... 12, 13, 14

Milk Train, Inc. v. Veneman,
  310 F.3d 747 (D.C. Cir. 2002) ........................................................................................ 10

Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
  463 U.S. 29 (1983). ................................................................................................... 5, 7, 8

Nat'l Assoc. of Diversity Officers in Higher Educ. v. Trump,
  No. 1:25-CV-00333-ABA, 2025 WL 573764 (D. Md. Feb. 21, 2025)........................... 19

Office of Personnel Mgmt. v. Am. Fed’n of Gov’t Employees, AFL-CIO,
   473 U.S. 1301 (1985) ........................................................................................................ 4

Padula v. Webster,
  822 F.2d 97 (D.C. Cir. 1987). ......................................................................................... 11

Planned Parenthood of Greater Washington & N. Idaho v. U.S. Dep’t of Health & Human
   Servs.,
   328 F. Supp. 3d 1133 (E.D. Wash. 2018) ................................................................. 10, 12

Pol’y & Res., LLC v. U.S. Dep’t of Health & Human Servs.,
  313 F. Supp. 3d 62 (D.D.C. 2018) ............................................................................ 10, 11


                                                               iii
          Case 1:25-cv-10548-MJJ                         Document 62                Filed 03/13/25               Page 5 of 27




                                         TABLE OF AUTHORITIES
                                               (continued)
                                                                                                                              Page

Republic Maximal LLC v. Romulus Cap. Partners II, LLC,
  2024 WL 4519812 (D. Mass. Oct. 17, 2024) .................................................................... 2

Societe Generale de Surveillance, S.A. v. Raytheon Eur. Mgmt. & Sys. Co.,
  643 F.2d 863 (1st Cir. 1981) ............................................................................................. 3

Union of Concerned Scientists v. Wheeler,
  954 F.3d 11 (1st Cir. 2020) ............................................................................................. 11

Williams v. Zbaraz,
  442 U.S. 1309 (1979) ........................................................................................................ 2

Winter v. Nat. Resources Defense Council, Inc.,
  555 U.S. 7 (2008). ........................................................................................................... 15

Statutes

20 U.S.C. § 1022 .................................................................................................................... 8

20 U.S.C. § 1022e .................................................................................................................. 8

20 U.S.C. § 6672 .................................................................................................................... 8

28 U.S.C. § 1331 .................................................................................................................. 12

5 U.S.C. § 701 ........................................................................................................................ 9

5 U.S.C. § 705 ...................................................................................................................... 15

Regulations

2 C.F.R. § 200.340 ........................................................................................................... 9, 11

2 C.F.R. § 200.346 ............................................................................................................... 18

2 C.F.R. § 3474.1 ................................................................................................................. 11




                                                                   iv
       Case 1:25-cv-10548-MJJ          Document 62        Filed 03/13/25      Page 6 of 27




                                      INTRODUCTION
      In its Emergency Motion for Stay Pending Appeal (“Motion”), the Department now insists

that its decision to terminate virtually every previously awarded grant under two Congressionally

authorized teacher pipeline programs is not subject to review under the Administrative Procedure

Act (APA) or the very regulations the Department itself purports to rely on as its source of

authority. Doc. No. 55. Instead, it incorrectly characterizes this case as one about money and

delayed payments. But this case is not a contract dispute about monies owed. This case, at its core,

is about the Executive Branch’s lack of authority to unilaterally withhold previously awarded

funds, without any explanation and in contravention of statutes and regulations.

      This Court correctly concluded that Plaintiff States are likely to prevail on the merits. There

is nothing in Defendants’ motion that would change this conclusion and even more reasons

provided by Defendants to support the Court’s decision.

      Defendants’ termination of all previously awarded grants under the Teacher Quality

Partnership (TQP) Program and the Supporting Effective Educator Development (SEED) Program

failed to provide the required reasoned explanation and improperly disregarded the significant

reliance interests at stake here. The Department’s evolving position in this Motion on its own

priorities is an impermissible post-hoc rationalization of the terminations, its actions are not an

unreviewable matter of agency discretion, and the Court has jurisdiction. The Court properly

considered the myriad irreparable harms that would result if the grants remained terminated and

the teacher pipeline programs they fund to address the nation’s severe teacher shortage were forced

to close. Doc. No. 41 at 6-9. The temporary restraining order (“TRO”) was correctly decided.

      The TRO’s purpose is to preserve the status quo while this matter is expeditiously litigated,

to avoid programs in Plaintiff States being irremediably shuttered. The Court set an accelerated




                                                 1
       Case 1:25-cv-10548-MJJ           Document 62        Filed 03/13/25      Page 7 of 27




briefing schedule for the preliminary injunction, with briefing complete on March 21, 2025, and a

hearing one week later, on March 28.1 Doc. No. 52. Defendants nonetheless seek a stay for the

purpose of seeking an appeal. But the Court’s provisional order is not appealable. Moreover, there

is no support for Defendants’ claim that grant recipients will draw down all remaining grant funds;

indeed, grant recipients are subject to federal regulations as well as payment rules incorporated in

their grant awards.

                                           ARGUMENT

       Defendants are not entitled to the “extraordinary” remedy, Williams v. Zbaraz, 442 U.S.

1309, 1311 (1979), of a stay pending appeal of the TRO entered by the Court on March 9, 2025.

A stay pending appeal is appropriate only if “the stay applicant has made a strong showing” that

(1) its appeal will “likely . . . succeed on the merits”; (2) it “will be irreparably injured absent a

stay”; (3) “issuance of the stay will [not] substantially injure the other parties interested in the

proceeding”; and (4) the stay would be in “the public interest.” Does 1-3 v. Mills, 39 F.4th 20, 24

(1st Cir. 2022) (quoting Bos. Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. of City of

Bos., 996 F.3d 37, 44 (1st Cir. 2021)); see Republic Maximal LLC v. Romulus Cap. Partners II,

LLC, 2024 WL 4519812, at *5 (D. Mass. Oct. 17, 2024) (same factors apply for district court); see

also Ark. Tchr. Ret. Sys. v. State St. Bank & Tr. Co., 527 F. Supp. 3d 40, 58 (D. Mass. 2021). “The


       1
          Defendants’ counsel also acknowledged at the hearing that “obviously, the Court has
jurisdiction to enter [a TRO] without notice even and so the government greatly appreciates the
Court’s courtesy with respect to today’s hearing.” Tr. at 16:6-8. Counsel also acknowledged that
he was “prepared to talk about the likelihood of success on the merits to the extent the Court is
considering that factor with respect to entering a TRO” but that he would want more time to brief
a preliminary injunction. Id. at 37:23-38:6. In sum, there was nothing improper about the Court
crediting Plaintiff States’ sworn declarations regarding the exigency of the situation and issuing
temporary relief before receiving a brief from Defendants. The Court heard argument from
Defendants, which counsel himself indicated he was “prepared” to argue. Id. Defendants’ change
of course in this Motion to now make the wholly unsupported argument that Plaintiff States are
trying to shield the district court’s order from appellate review should be dismissed outright.


                                                  2
       Case 1:25-cv-10548-MJJ         Document 62        Filed 03/13/25     Page 8 of 27




party requesting a stay bears the burden of showing that the circumstances justify an exercise of

that discretion.” Nken v. Holder, 556 U.S. 418, 433–34 (2009).

       As a threshold matter, Defendants’ putative appeal from the TRO is improper, and there is

therefore no basis to enter a stay pending appeal. “[T]he grant of a TRO generally is not

appealable.” Almeida-Leon v. WM Cap. Mgmt., Inc., No. 20-2089, 2024 WL 2904077, at *4 (1st

Cir. June 10, 2024); accord Calvary Chapel of Bangor v. Mills, 984 F.3d 21, 26-27 (1st Cir. 2020).

Although there is an exception to that rule where a TRO is “an injunction masquerading as a TRO,”

Almeida-Leon, 2024 WL 2904077, at *4, that is not the case here. Rather, this Court entered a

TRO days ago—on March 10, 2025—and promptly entered an expedited briefing schedule on

Plaintiff States’ motion for preliminary injunction. That schedule assures that the motion will be

fully briefed by March 21, 2025, with a hearing scheduled for March 28, 2025. Doc. No. 52.

       The record thus establishes that the TRO is a “temporary and short” order imposed while

a request for preliminary relief is briefed, and not in any way “an injunction masquerading as a

TRO.” Almeida-Leon, 2024 WL 2904077, at *4. And the TRO’s purpose is to maintain the status

quo while this matter is expeditiously litigated, not to impose durable relief in the form of an

injunction. As the First Circuit has explained, a TRO entered under such circumstances, in

compliance with Rule 65(b)(2) and entered to permit the court to resolve a pending motion for a

preliminary injunction, is not appealable. See Almeida-Leon, 2024 WL 2904077, at *5 (finding no

appellate jurisdiction over such a TRO); compare, e.g., Societe Generale de Surveillance, S.A. v.

Raytheon Eur. Mgmt. & Sys. Co., 643 F.2d 863, 865 n.2 (1st Cir.1981) (finding appellate

jurisdiction in appeal from TRO in place “for more than a year”). Because the First Circuit lacks

jurisdiction over defendants’ putative appeal, there is no basis for a stay of this Court’s order

pending appeal. Cf., e.g., Office of Personnel Mgmt. v. Am. Fed’n of Gov’t Employees, AFL-CIO,




                                                3
       Case 1:25-cv-10548-MJJ          Document 62       Filed 03/13/25      Page 9 of 27




473 U.S. 1301, 1306 (1985) (Burger, C.J., in chambers) (“[S]ince the Court of Appeals was without

jurisdiction over the appeal from the District Court’s order denying the temporary restraining

order, the motions panel was necessarily without authority to grant such a stay.”).

      Even if Defendants’ Motion were not jurisdictionally flawed, it must also be denied because

Defendants cannot meet the standard for securing a stay pending appeal.

      A.    A Stay Is Not Warranted Because This Court Correctly Found That
            Plaintiffs Were Likely to Succeed on Their Claim That Defendants Failed
            to Provide the Required Reasoned Explanation and Failed to Consider
            Reliance Interests, in Violation of the APA.

      First, Defendants insist that their termination of 104 of 109 TQP and SEED grants by means

of identical form letters is not in fact a categorial determination, and therefore, the Court’s TRO

was granted in error. See Doc. No. 55-1 at 4 ¶ 27; Doc. No. 55 at 3-4. As an initial matter, it is

absurd to suggest that the fact that the Department allegedly preserved less than five percent of

grants, while offering identical form Termination Letters to the remaining 104 grants, renders the

Department’s mass cancelation of grants not a categorial determination.2

       In any event, the Department concedes that it utilized a single form Termination Letter to

terminate all of the TQP and SEED grants at issue, and the existence of an alleged 5 remaining

grants (with unnamed grantees) has no bearing on the lawfulness of the Department’s reliance on

a Termination Letter to effectuate a mass termination that was devoid of any reasoned explanation.

See Doc. No. 56 (Oglesby Decl.) at ¶¶ 22-25; Doc. No. 55 at 6-7 (noting that Department “used a


       2
          Indeed, the Department effectively concedes that the terminations amounted to a
categorical determination. See Doc. No. 55 at 6-7; Emergency Mot. for Stay Pending Appeal and
Immediate Admin. Stay, California v. Department of Education, No. 25-1244 (1st Cir.), Mar. 12,
2025, at 16 (“[T]he Department identified grants with a common characteristic (funding DEI) and
terminated the grants on that basis.”). And a Department official informed a Plaintiff State
recipient via email on February 21, 2025 that “[a]ll the grants have been terminated,” “[a] new
GAN email was sent out to everyone, some have not received the letter,” and “[a]ll the accounts
in G6 [the Department’s grant management system] are closed.” Doc. No. 8-13 at ¶ 18 and Ex. C.


                                                4
      Case 1:25-cv-10548-MJJ           Document 62        Filed 03/13/25      Page 10 of 27




template response to communicate its position” at the time).3 As this Court correctly found, the

Termination Letter’s use of the disjunctive to list “several theoretical bases for the grant

terminations . . . does not reach the level of a reasoned explanation; indeed it amounts to no

explanation at all.” Doc. No. 41 at 5. The APA requires that an agency “articulate a satisfactory

explanation for its action including a rational connection between the facts found and the choice

made.” Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

43 (1983). The Department’s actions fail that standard.

       In its Motion, the Department now shares for the first time that “[a]ll of the grants it

identified for termination shared a common characteristic, so the Department appropriately used a

common response” which was “efficient and sensible” under the circumstances. Doc. No. 55 at 6-

7.4 This ignores the Department’s failure to articulate in the Termination Letter what this purported

“common characteristic” is, much less explain how these grants are “not in the best interests of the

United States,” which is the reason the Department now claims in its Motion is the “common”

problem with all terminated TQP and SEED grants. Id. These conclusory explanations now relied

on by the Department in its Motion are also insufficient under the APA. Amerijet Int’l, Inc. v.

Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014) (“Restating a rule from which an exception is sought

explains nothing about why the agency denied the exception; it begs the question.”) (emphasis in

original); Alpharma, Inc. v. Leavitt, 460 F.3d 1, 11 (D.C. Cir. 2006) (holding that FDA “flatly



       3
         Defendants argue that the APA does not require an individualized as opposed to a
categorical policy choice about what projects the government will fund. Setting aside that question,
the APA plainly does require a reasoned explanation, and here, the Department offered no reasoned
explanation for its decision on either a grant-by-grant or program-wide basis. Indeed, the
Department’s Termination Letter failed to provide grant recipients with any explanation at all.
       4
          Defendants claim that the grants were terminated on the basis of a shared “common
characteristic,” but that flatly contradicts the Termination Letters themselves, which list, in the
disjunctive, several other potential reasons for termination.


                                                 5
      Case 1:25-cv-10548-MJJ           Document 62         Filed 03/13/25      Page 11 of 27




declare[d] that ‘the agency had a clear rationale for its determination that 100 grams/ton would be

the optimally effective dose for controlling necrotic enteritis.’ The problem is that the letter offers

no hint of what that ‘clear rationale’ might have been. Accordingly, we are unable to determine

whether it was reasonable.”). Nor should the Court credit Defendants’ self-serving claims that they

engaged in individualized decision-making, where the actual contemporaneous rationale, a

disjunctive list of “several theoretical bases for the grant terminations” provided by the

Department, belies any notion of individualized decision-making.

       The Department also failed to consider the impact of its abrupt decision and reliance on its

prior determination that these recipients were worthy of grant funds. As the Supreme Court has

explained, where an agency is “not writing on a blank slate” it must “assess whether there [are]

reliance interests, determine whether they [are] significant, and weigh any such interests against

competing policy concerns.” DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 33 (2020). In

Massachusetts v. National Institutes of Health, the court found that the NIH’s failure to consider

similar reliance interests violated the APA, noting grant recipients’ reliance on anticipated grant

funding in “formulat[ing] their operating budgets” and planning their “staffing needs.” No. 25-

CV-10338, 2025 WL 702163, at *19 (D. Mass. Mar. 5, 2025). The court also credited reliance

interests beyond those of institutions that received the funding, including the interests of “students

who will no longer be admitted to those institutions” and “to the local communities that will suffer

from the loss of community-based programming.” Id. The same is true here: the Department has

failed to consider the interests of would-be teachers who are currently enrolled in grant recipients’

teacher training and pipeline programs and who have arranged their lives around the expectation




                                                  6
      Case 1:25-cv-10548-MJJ           Document 62        Filed 03/13/25      Page 12 of 27




that these programs and their stipends would continue.5 This Court correctly noted the importance

of these reliance interests, see Doc. No. 41 at 6, and Defendants have effectively conceded that

they were not considered in their decision-making process. See Doc. No. 56 at ¶¶ 7, 18-20

(describing process of reviewing grants, which includes no consideration of reliance interests or

the impact of termination).6 The Department’s apparent desire to terminate millions of dollars in

grant funds in an “efficient” and expedient manner does not give it license to ignore the devastating

real-world impacts of its actions.

      Finally, as the District Court noted, “[a]n agency action is arbitrary and capricious if the

agency has ‘relied on factors which Congress has not intended it to consider[.]’” Doc. No. 41 at 4

(citing State Farm Mut. Auto. Ins. Co., 463 U.S. at 43). Here, the Department did just that. In its

Motion, the Department abandons any pretense that these terminations were related to anything

other than an administration policy disfavoring lawful diversity, equity, and inclusion initiatives.

Doc. No. 55 at 7. This reasoning is patently arbitrary and capricious in view of the fact that the




       5
         Doc. No. 8-4 at ¶ 20 (“The financial assistance provided to teacher candidates is essential.
It enables teacher candidates to complete a demanding year-long clinical preparation program
which, among other things, requires them to teach four days a week in a high-needs or high-poverty
K-6 school while taking classes one day a week and in the evenings (leaving no time for
employment to support themselves in a teacher preparation program). Without the financial
assistance provided through the TQP grant, the 15 teacher candidates whom CSE expects to
participate in the Program will not be able to enroll and participate in the Program. Similarly,
without a financial stipend, many future potential teacher candidates will not be able to enroll in
the BEST Program, thereby further exacerbating the teacher shortage in our rural region.”).
       6
          Defendants now, for the first time, include new and different reasons for the terminations
that are not included in the Termination Letters at all, including that the grants shared a “common
characteristic,” such as material associated with “anti-racism” and “social justice” that was deemed
“objectionable.” See Doc. 55 at 3, 6. These new reasons are inconsistent with what defense counsel
argued in court just two days earlier, namely that the termination of these grants was based on the
Department’s view that grant recipients’ programs violate federal anti-discrimination law. Tr. at
46-47. These shifting explanations of the reason for the terminations is further evidence of the
arbitrary and capricious nature of the agency’s action.


                                                 7
      Case 1:25-cv-10548-MJJ           Document 62        Filed 03/13/25      Page 13 of 27




statutes authorizing these grants make clear that Congress intended and even required grant

recipients to advance those aims. See 20 U.S.C. § 1022e(b) (requiring grant recipients to assure

that “general education teachers receive training in providing instruction to diverse populations,

including children with disabilities, limited English proficient students, and children from low-

income families”) (emphasis added); 20 U.S.C. § 6672(a)(1) (expressing a purpose that grant

recipients should provide teachers, principals, and school leaders “from nontraditional preparation

and certification routes or pathways to serve in traditionally underserved” schools); 20 U.S.C. §

1022 (“The purposes of this part are to ... recruit highly qualified individuals, including minorities

and individuals from other occupations, into the teaching force.”) (emphasis added). Defendants

fail to address this argument in their Motion at all, and this provides a separate and independently

sufficient basis to deny the stay motion.

      Defendants remaining arguments fail to show any likelihood of success on appeal.

       1. The Department Relies on Impermissible Post-Hoc Rationalizations in Seeking a
          Stay of the TRO.

      As a threshold issue, when a new administration changes its overall priorities, it must provide

a reasoned explanation that considers all the aspects of the problem or reasons for the change.

State Farm, 463 U.S. at 43 (requiring agency “articulate a satisfactory explanation for its action

including a rational connection between the facts found and the choice made”). The Department

conceded as much. Tr. at 45. It has not done so here, and in fact, the Department effectively agreed

that it had not actually changed its priorities, only its determination of whether previously awarded

grants violated, for example, federal antidiscrimination laws. Tr. at 46. Defendants now walk back

that position, focusing instead on “objectionable materials associated with DEI,” such as “anti-

racism” and “cultural responsiveness,” and dropping any pretense that the focus only on

“unlawful” DEI was even a consideration. Doc. No. 55 at 3. The Department’s effort now, in its



                                                  8
      Case 1:25-cv-10548-MJJ           Document 62        Filed 03/13/25      Page 14 of 27




Motion, Doc. No. 55 at 7, to change course and argue that there are new Department priorities—

ones distinct from what they argued to this Court earlier this week—only further underscores that

it has not provided the required reasoned explanation. See, e.g., State Farm, 463 U.S. at 49–50

(“The short—and sufficient—answer to petitioners’ submission is that the courts may not accept

appellate counsel’s post hoc rationalizations for agency action.”); Nat’l Insts. of Health, 2025 WL

702163, at *21 (same); see also Am. Fed’n of Gov’t Emps., Local 2924 v. Fed. Labor Relations

Auth., 470 F.3d 375, 380 (D.C. Cir. 2006) (court may find agency decision to be arbitrary and

capricious if action is the product of illogical reasoning); Venetian Casino Resort, L.L.C. v. EEOC,

530 F.3d 925, 934 (D.C. Cir. 2008) (same with respect to inconsistent reasoning).

      Setting that aside, the regulations simply do not permit an agency to terminate existing grants

based on new priorities mid-stream. See Doc. No. 7 at 21-23; Tr. at 28-30. Defendants’ view of 2

C.F.R. § 200.340, which governs when the Department may terminate a grant for failure to

effectuate agency priorities, misreads that provision. But regardless, the Court’s order focused on

a separate, independent basis to support the TRO, see Doc. No. 41 at 6 n.3, and Defendants’

disagreement with Plaintiff States’ contrary to law claim not yet decided by this Court provides no

basis to stay the TRO.

       2. Contrary to the Department’s Assertions, the TRO Was Properly Granted as
          This Is Not an Unreviewable Matter of Agency Discretion.

      Defendants are not likely to succeed on their argument that the Department’s decision to

terminate the TQP and SEED grants at issue is not subject to APA reasoned decision-making

requirements. To start, the APA “embodies a ‘basic presumption of judicial review,’” Dep’t of

Commerce v. New York, 588 U.S. 752, 771 (2019), that is overcome only if (1) a statute

“preclude[s] judicial review” or (2) “agency action is committed to agency discretion by law.” 5

U.S.C. § 701(a). The Supreme Court, however, has “quite narrowly” read the “§ 701(a)(2)



                                                 9
      Case 1:25-cv-10548-MJJ           Document 62         Filed 03/13/25      Page 15 of 27




exception for action committed to agency discretion . . . , restricting it to ‘those rare circumstances

where the relevant statute is drawn so that a court would have no meaningful standard against

which to judge the agency’s exercise of discretion.” New York, 588 U.S. at 772 (quoting

Weyerhaeuser Co. v. United States Fish & Wildlife Serv., 586 U.S. 9, 23 (2018)).

       Defendants point to Lincoln v. Vigil to suggest that narrow exception to judicial review

applies here. Doc. No. 55 at 4-6; 508 U.S. 182 (1993). There, the Supreme Court held that the

Indian Health Service’s decision to re-allocate funds that Congress appropriated “for the benefit,

care, and assistance of the Indians,” was unreviewable as committed to agency discretion. Lincoln,

508 U.S. at 184-85. That is because “an agency’s allocation of funds from a lump-sum

appropriation requires a complicated balancing of a number of factors which are peculiarly within

its expertise.” Id. at 193. Nevertheless, the Lincoln court noted that “Congress may always

circumscribe agency discretion to allocate resources by putting restrictions in the operative

statutes,” and disputes about the applicability of such restrictions are judicially reviewable. Id.

       Applying Lincoln, courts have frequently reviewed grant award decisions where Congress,

or the implementing agency, have cabined the agency’s “discretionary funding determinations.”

See Pol’y & Res., LLC v. U.S. Dep’t of Health & Human Servs., 313 F. Supp. 3d 62, 76 (D.D.C.

2018) (finding a grant termination reviewable under the APA and arbitrary and capricious on the

merits); Planned Parenthood of Greater Washington & N. Idaho v. U.S. Dep’t of Health & Human

Servs., 328 F. Supp. 3d 1133, 1145-49 (E.D. Wash. 2018) (same); Healthy Teen Network v. Azar,

322 F. Supp. 3d 647 (D. Md. 2018) (same); King County v. Azar, 320 F. Supp. 3d 1167, 1175

(W.D. Wash. 2018) (same); see also Milk Train, Inc. v. Veneman, 310 F.3d 747, 752 (D.C. Cir.

2002) (agency allocation of funds reviewable where Congress determined that moneys were to be

used for “economic losses incurred during 1999”). Thus, the relevant question for determining




                                                  10
      Case 1:25-cv-10548-MJJ          Document 62        Filed 03/13/25      Page 16 of 27




reviewability here is whether a statute, regulation, or other binding policy “provide[s] meaningful

standards for a court to employ when reviewing agency decisions under the APA.” Pol’y & Res.,

LLC, 313 F. Supp. 3d at 76; see also Union of Concerned Scientists v. Wheeler, 954 F.3d 11, 20

(1st Cir. 2020) (EPA decision was subject to judicial review where “sufficient standards exist[ed]

for meaningful review of the decision-making process at issue”); Padula v. Webster, 822 F.2d 97,

100 (D.C. Cir. 1987). Notably, “the fact that the statute leaves a great deal of discretion to the

agency,” does not “make actions pursuant to it unreviewable.” Union of Concerned Scientists, 954

F.3d at 19.

      Here, the Department’s termination decision is governed by meaningful standards that this

Court can employ. The Department has adopted OMB’s Uniform Guidance for Federal Financial

Assistance (Uniform Guidance), which provides enumerated grounds on which an agency may

terminate a grant award. See 2 C.F.R. § 200.340(a); 2 C.F.R. § 3474.1. In other words, the Uniform

Guidance provides a meaningful standard for the court to employ in reviewing the termination

decision at issue here. The district court’s decision in Policy & Research provides a useful example

on this point. There, HHS argued that its decision to shorten the program period for Teen

Pregnancy Prevention Program (TPP) grants by two years was unreviewable. 313 F. Supp. 3d at

76. Then-Judge Ketanji Brown Jackson found that HHS’s termination of the TPP grants was

subject to judicial review because “HHS’s regulations expressly address—and limit—the agency’s

discretion to ‘terminate’ monetary awards” such that there were meaningful standards to apply to

the agency’s decision. Id. at 76-77 (termination of grant awards “without explanation and in

contravention of the regulations was an arbitrary and capricious act”); see also King County, 320

F. Supp. 3d at 1175 (“HHS regulations provide a clear standard against which the Court may

judge” the termination of TPP grants).




                                                11
      Case 1:25-cv-10548-MJJ            Document 62        Filed 03/13/25       Page 17 of 27




      Defendants’ attempt to characterize the TQP and SEED terminations as a decision to allocate

funding among grant recipients similarly fails. See also id. at 1176 (mid-performance period grant

termination was not “an allocation decision between various grant options”). The funds have

already been allocated to the TQP and SEED recipients, and Defendants offer no support for the

idea that an agency can re-allocate such funds, Doc. No. 55 at 4, nor did it conduct any

“complicated balancing of . . . factors . . . particularly within [its] expertise,” Lincoln, 508 U.S. at

193. Accordingly, the termination decision is subject to judicial review under the APA.7

       3. The TRO Was Properly Granted Because the Tucker Act Does Not Divest This
          Court of Jurisdiction.

      The Court correctly determined that the Tucker Act has no application here. See Doc. No.

41 at 2-3. District courts have jurisdiction over “all civil actions arising under the Constitution,

laws, or treaties of the United States.” 28 U.S.C. § 1331. The Tucker Act does not eliminate that

jurisdiction. Plaintiffs allege unlawful agency action, not breach of contract, and those claims

belong in Article III courts. See, e.g., Nat’l Insts. of Health, 2025 WL 702163, at *4-8. In assessing

whether the Tucker Act impliedly precludes jurisdiction, courts consider “both . . . the source of

the rights upon which the plaintiff bases its claims, and . . . the type of relief sought (or

appropriate).” Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982).


       7
          Moreover, even if Defendants could invoke Lincoln in some effort to support a decision
not to fund new grants, the decision does not support the notion that the Department can simply
stop funding grants that were already entered into in a manner inconsistent with the terms of the
award or applicable regulatory requirements. See, e.g., Planned Parenthood of Greater Wash. &
N. Idaho, 328 F. Supp. 3d at 1145-47 (rejecting argument that HHS’s decision not to issue future
continuing awards is unreviewable as it is “committed to agency discretion” because Lincoln
(applying § 701(a)(2)) is narrow and finding that HHS arbitrarily and capriciously terminated
program where program was successful, and agency’s “justification” was that decision was in best
interest of government because of policy concerns with program); Castellini v. Lappin, 365 F.
Supp. 2d 197, 200-05 (D. Mass. 2005) (Lincoln did not render BOP decision to terminate boot
camp program unreviewable where program was enabled by Congress and established through
notice and comment regulations).


                                                  12
      Case 1:25-cv-10548-MJJ           Document 62        Filed 03/13/25      Page 18 of 27




       First, with respect to the source of rights, Plaintiff States base their claims on federal

regulations, the statutes authorizing these grant programs, and on the APA—not on the grants

themselves. The fact that a Court may have to consider the language of a contract as part of its

regulatory or statutory analysis does not convert the claim to one whose “essence” is a contract

claim. Megapulse, Inc., 672 F.2d at 969–70 (“[W]e do not accept the Government’s argument that

the mere existence of such contract-related issues must convert this action to one based on the

contract. This court retains the power to make rational distinctions between actions sounding

genuinely in contract and those based on truly independent legal grounds.”); Katz v. Cisneros, 16

F.3d 1204, 1209 (Fed. Cir. 1994) (holding that case was “not a contract case,” as “[Plaintiff] does

not seek declaratory relief in the performance of a contract, but seeks judicial interpretation of a

federal regulation,” and the fact that the “challenged regulations are tracked in the language of the

contract between [the parties]” is not controlling).

       Defendant insists that the on-point decision in National Institutes of Health is inapplicable

because it “dealt with the lawfulness of agency guidance and sought to vacate it” whereas

“Plaintiffs here challenge a series of individual grant terminations.” Doc. No. 55 at 6 (emphasis

omitted). National Institutes of Health involved a decision to slash the rate of reimbursement for

indirect costs in violation of statute and regulation, impacting numerous grant awards. Here, the

Department made a decision to categorically terminate grant funding for what it perceived to be

all DEI-related projects, in violation of governing regulations and statutory purposes clearly

embracing diversity, equity, and inclusion. Thus, as in National Institutes of Health, the

Department has engaged in an unlawful agency action that affects many grant awards. Like in

National Institutes of Health, the fact that the unlawful agency action here implicates the payment




                                                 13
      Case 1:25-cv-10548-MJJ           Document 62        Filed 03/13/25      Page 19 of 27




of funds subject to grant awards does not alter the source of the rights at stake, which are statutory

and regulatory, not contractual.

      Second, “the type of relief sought (or appropriate)” here differs from the relief available in

a Tucker Act action. Megapulse, 672 F.2d at 968; see also Nat’l Insts. of Health, 2025 WL 702163,

at *5.8 Plaintiffs seek neither a money judgment nor specific performance of a contract. Instead,

they seek declaratory and injunctive relief returning the parties to the pre-existing status quo prior

to the termination under all previously awarded TQP or SEED grants for recipients in Plaintiff

States.

      The relief sought by Plaintiff States is classic APA relief; courts frequently set aside agency

actions, which may then result in the payment of money, but such claims are not compensatory

damages for a broken contract. The Supreme Court has made clear this type of suit may proceed

in district court, because it “is not a suit seeking money in compensation for the damage sustained

by the failure of the Federal Government to pay as mandated; rather, it is a suit seeking to enforce

the statutory [and regulatory] mandate itself.” Bowen v. Massachusetts, 487 U.S. 879, 900 (1988).

The fact that an injunction—or a judgment setting aside agency action—may later cause the

government to make payments does not strip this Court of jurisdiction. See Crowley Gov’t Servs.,

Inc. v. Gen. Servs. Admin., 38 F.4th 1099, 1108 (D.C. Cir. 2022) (“[E]ven if the plaintiff filed the

complaint with an eye to future monetary awards, a district court with otherwise appropriate




          8
         Defendants attempt to distinguish National Institutes of Health by arguing that “although
they cast their claim for relief in equitable terms, at base what Plaintiffs demand is access to
money.” Doc. No. 55 at 6. But National Institutes of Health, like this case, involved the federal
government’s unlawful action and equitable relief to place the funding recipients in the status quo
ante, prior to the unlawful agency action. That it might require the agency to pay funds does not
convert the claim into one for money damages.




                                                 14
       Case 1:25-cv-10548-MJJ          Document 62         Filed 03/13/25      Page 20 of 27




jurisdiction may hear the claim and grant the proper equitable relief.”) (quotation omitted); Katz,

16 F.3d at 1208 (“That a payment of money may flow from a decision that HUD has erroneously

interpreted or applied its regulation does not change the nature of the case.”). In sum, this Court

retains jurisdiction because the source of the rights at issue and the relief sought demonstrate that

the “essence” of the case does not sound in contract.

        4. Remand Is Not Appropriate at This Early Stage.

      Defendants’ argument that the Court “should have remanded to the agency for additional

consideration” misunderstands the posture of the case and the scope of the order. Doc. No. 55 at

7. The Court’s TRO (and the preliminary injunctive relief Plaintiffs are seeking) is merely an

interim measure until the parties can litigate the merits of the case to a final judgment. See, e.g., 5

U.S.C. § 705 (“reviewing court . . . may issue all necessary and appropriate process . . . to preserve

status or rights pending conclusion of the review proceedings.”). At the merits stage, the Court

will decide whether the grounds for the agency action are inadequate and what the proper remedy

will be. The traditional remedy following judicial review of administrative action may well include

an order preventing reliance on the flawed agency action or a remand to the agency, but that sort

of final relief at the conclusion of a case does not strip a court of its equitable authority to grant

temporary provisional relief while it considers the merits of the administrative claim. See Winter

v. Nat. Resources Defense Council, Inc., 555 U.S. 7, 24 (2008). Defendants do not get to remand

this case at the beginning to shore up their decision with respect to these grants for further

litigation.9




        9
         Nor would it be practical to do, especially given the numerous additional grounds on
which Plaintiff States assert the Department’s action was unlawful and which have not yet been
addressed by the Court.


                                                  15
      Case 1:25-cv-10548-MJJ           Document 62        Filed 03/13/25      Page 21 of 27




      B.    The Court Correctly Found That the Balance of Equities Heavily Favors
            Plaintiff States, and Thus, a Stay of the TRO Is Not Warranted.

      This Court correctly found that “the balance of the equities weighs heavily in favor of

granting Plaintiff States’ TRO.” Doc. No. 41 at 8. If grant recipients had not been restored to the

pre-termination status quo, projects would continue to have to make difficult decisions, such as

laying off staff, closing applications to prospective candidates, and shuttering programs upon

which public schools, universities, students, teachers, and faculty rely. See, e.g., Tr. at 8-13, Doc.

No. 8-2 at ¶ 28, Doc. No. 8-3 at ¶ 26; Doc. No. 8-7 at ¶¶ 19, 20, Doc. No. 8-9 at ¶ 21, Doc. No. 8-

10 at ¶¶ 21, 24, 29, Doc. No. 8-11 at ¶¶ 8. 26, Doc. No. 8-12 at ¶ 18; Doc. No. 8-15 at ¶ 20, Doc.

No. 8-16 at ¶¶ 19-21; see also Doc. No. 41 at 7-9 (crediting that record). Once those programs are

dissolved, the lights cannot so easily be turned back on. Tr. at 8; Doc. No. 8-9 at ¶ 21; Doc. No.

41 at 7. As this Court correctly found, the Department’s termination of all previously awarded

TQP and SEED grants has already harmed, and will continue to harm, the programs that rely on

those grants. Doc. No. 41 at 7. And a later-issued injunction or monetary damages could not

compensate for the loss of federal funding where the very existence of the programs themselves is

in jeopardy. Id.

       Defendants contend that Plaintiff States’ harms are undercut because plaintiffs purportedly

“waited approximately a month before bothering to sue,” in an effort, according to Defendants, to

deliberately manufacture an emergency. That argument ignores reality. The Department itself

pulled the rug out from under grant recipients with no notice whatsoever, creating the need for the

emergency relief this Court properly granted. And it was the Department’s own flagrant

incompetence in rolling out the termination of virtually all previously awarded TQP and SEED




                                                 16
       Case 1:25-cv-10548-MJJ           Document 62         Filed 03/13/25       Page 22 of 27




grants that prevented Plaintiff States’ from filing sooner.10 Under these circumstances,

investigating the facts about the Department’s disordered and chaotic termination of these grants,

across dozens of projects in eight different states understandably took time. Plaintiff States should

not be further prejudiced by Defendants’ haphazard termination process by now having the delay

that Defendants caused held against them. Contrary to Defendants’ contentions, the equities favor

Plaintiff States.

        Moreover, the Department asserts, without any factual or legal support, that if the TRO

remains in place, grant recipients will draw down all remaining grant funds as quickly as possible

and that the Department will have no opportunity to recover these funds if they prevail. ECF No.

55 at 7. To be clear, Defendants’ concerns are unfounded. Grantees may not simply draw down

millions of dollars of funds from the Department with abandon; grant recipients must comply with

all applicable federal regulations as well as the payment rules incorporated into their grant award.

See, e.g., Doc. No. 8-10 at Ex. C (noting that 2 CFR Part 200, as adopted at 2 CFR 3474, has been

incorporated into the TQP grant agreement). Indeed, the Department itself referenced several




        10
           The chaotic rollout of this sudden wave of terminations came without any advance
warning. Grant recipients received these termination letters on a rolling basis, with some not
receiving the letters until days after first getting a grant award notification terminating their grants.
Doc. No. 8-3 at ¶ 18-19; Doc. No. 8-10 at ¶¶ 16-17. This created considerable confusion about the
Department’s actions. Additionally, at least one grant recipient had to reach out to their contact at
the Department to clarify whether their grant was in fact cancelled because they had received no
communication, see Doc. No. 8-13 at ¶ 18; Doc. No. 8-13 at Ex. C, and at least one other grant
recipient still has not received a copy of the Termination Letter. Doc. No. 8-16 at ¶ 18. Further,
some grant recipients sought to reach out to the Department to see if the Department would hold
the termination in abeyance pending reconsideration but received only prolonged silence from the
Department in response. See, e.g., Doc. No. 8-4 at ¶ 25; Doc. No. 8-5 at ¶ 27; Doc. No. 8-14 at ¶
23; Doc. No. 8-17 at ¶ 26.


                                                   17
      Case 1:25-cv-10548-MJJ            Document 62       Filed 03/13/25     Page 23 of 27




restrictions governing the withdrawal of funds in the notice it sent to grantees pursuant to this

Court’s TRO Order.11

       Many grantees submit annual performance and data verification sheets. See, e.g., Doc. No.

8-10 at ¶ 14, Doc. No. 8-20 at 15. Department personnel are also in frequent contact with grant

recipients for the purpose of monitoring grant compliance. For example, the University of Buffalo

participated in quarterly monitoring calls with a SEED program officer, where UB reported on,

among other things, project activities, expenditures, and expected drawdowns. See Doc. No. 8-20

at ¶ 15; see also Doc. No. 8-1 at ¶ 19 (“Throughout the planning and implementation stages of this

teacher residency, we have consistently received the approval and support of our TQP grant

officer.”). UB’s most recent monitoring call with its program officer took place on January 27th—

just two weeks prior to grant termination—and the Department did not raise any concerns about

project progress or other issues. See Doc. No. 8-20 at ¶ 16. Additionally, many grant recipients

received successive or continuation awards, with no suggestion of wrongdoing by the Department.

See, e.g., Doc. No. 8-10 at ¶¶ 6-7, 10. After years of compliance under the awards and frequent

touch points with the Department, see, e.g., Doc. No. 8-10 at ¶¶ 9, 12, there is no support for the

notion that grant recipients in Plaintiff States will now engage in fraud.

       There are also myriad ways under existing law that the Department can recover any funding

that is later found to be incorrectly dispersed. In fact, the Uniform Guidelines, which the

Department itself contends govern this dispute, explicitly provides for such recovery. 2 C.F.R. §

200.346 (“Any Federal funds paid to the recipient or subrecipient in excess of the amount that the

recipient or subrecipient is determined to be entitled to under the Federal award constitute a debt

to the Federal Government.”). Defendants’ fear that it will never recover improperly disbursed


       11
            This Notice is attached as Exhibit 1 to the Declaration of Adelaide Pagano.


                                                 18
      Case 1:25-cv-10548-MJJ           Document 62        Filed 03/13/25      Page 24 of 27




funds, incorrectly assumes that Plaintiff States’ recipients would act unlawfully and

misunderstands governing laws. On the other hand, if the stay is granted, many grant programs

will be harmed to the point of ruin. Doc. No. 41 at 8 (“[A] later-issued permanent injunction or

damages remedy [here] cannot compensate for such loss of federal funding.”).

      Finally, the Court did not err in declining to impose a bond requirement. As an initial matter,

there is “ample authority for the proposition that the provisions of Rule 65(c) are not mandatory

and that a district court retains substantial discretion to dictate the terms of an injunction bond.”

Int’l Assoc. of Machinists and Aerospace Workers v. E. Airlines, 925 F.2d 6, 9 (1st Cir. 1991).

And, just as in National Association of Diversity Officers in Higher Education v. Trump, in this

context, requiring a bond “would essentially forestall Plaintiffs’ access to judicial review.” No.

1:25-CV-00333-ABA, 2025 WL 573764, at *30 (D. Md. Feb. 21, 2025); see also Nat’l Council of

Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL 597959, at *19 (D.D.C.

Feb. 25, 2025) (recognizing that, in this context, requiring a bond would “hold Plaintiffs hostage”

for the harm resulting from Defendants’ actions in unlawfully withholding previously committed

funds).

                                         CONCLUSION

      For these reasons, Plaintiff States respectfully request that the Court deny Defendants’

Motion for a Stay Pending Appeal.




                                                 19
         Case 1:25-cv-10548-MJJ       Document 62   Filed 03/13/25    Page 25 of 27




ROB BONTA                                     ANDREA JOY CAMPBELL
Attorney General                              Attorney General
State of California                           Commonwealth of Massachusetts

By: /s/ Alexis Piazza                         By: /s/ Adelaide Pagano
Laura L. Faer*                                Megan Barriger (BBO #687707)
Supervising Deputy Attorney General           Senior Trial Counsel
Alexis Piazza*                                Adelaide Pagano (BBO #690518)
Heidi Joya*                                   Assistant Attorney General
Garrett Lindsey*                              Yael Shavit (BBO #695333)
Deputy Attorneys General                      Chief, Consumer Protection Division
Maureen Onyeagbako*                           Chris Pappavaselio (BBO #713519)
Supervising Deputy Attorney General           Matthew Lindberg (BBO #633630)
1515 Clay St.                                 Assistant Attorneys General
Oakland, CA 94612                             1 Ashburton Pl.
(510) 879-3304                                Boston, MA 02108
Laura.Faer@doj.ca.gov                         (617) 963-2038
Alexis.Piazza@doj.ca.gov                      megan.barriger@mass.gov
Heidi.Joya@doj.ca.gov                         adelaide.pagano@mass.gov
Garrett.Lindsey@doj.ca.gov                    yael.shavit@mass.gov
Maureen.Onyeagbako@doj.ca.gov                 chris.pappavaselio2@mass.gov

MATTHEW J. PLATKIN                            PHILIP J. WEISER
Attorney General                              Attorney General
State of New Jersey                           State of Colorado

By: /s/ Amanda I. Morejón                     By: /s/ David Moskowitz
Amanda I. Morejón (BBO #696737)               David Moskowitz*
Jessica L. Palmer*                            Deputy Solicitor General
Lauren E. Van Driesen*                        1300 Broadway, #10
Elizabeth R. Walsh*                           Denver, CO 80203
Deputy Attorneys General                      (720) 508-6000
124 Halsey Street, 5th Floor                  David.Moskowitz@coag.gov
Newark, NJ 07101
(609) 696-5279
Amanda.Morejon@law.njoag.gov
Jessica.Palmer@law.njoag.gov
Lauren.VanDriesen@law.njoag.gov
Elizabeth.Walsh@law.njoag.gov




                                             20
        Case 1:25-cv-10548-MJJ       Document 62         Filed 03/13/25     Page 26 of 27




KWAME RAOUL                                        ANTHONY G. BROWN
Attorney General                                   Attorney General
State of Illinois                                  State of Maryland

By: /s/ Darren Kinkead                             By: /s/ Virginia A. Williamson
Darren Kinkead*                                    Virginia A. Williamson†
Public Interest Counsel                            Assistant Attorney General
115 South LaSalle Street                           200 Saint Paul Place, 20th Floor
Chicago, IL 60603                                  Baltimore, Maryland 21202
(773) 590-6967                                     (410) 576-6584
Darren.Kinkead@ilag.gov                            VWilliamson@oag.state.md.us


LETITIA JAMES                                      JOSHUA L. KAUL
Attorney General                                   Attorney General
State of New York                                  State of Wisconsin

By: /s/ Sandra Park                                By: /s/ Aaron J. Bibb
Sandra Park*                                       Aaron J. Bibb*
Civil Rights Bureau Chief                          Assistant Attorney General
Monica Hanna*                                      17 West Main Street
Rabia Muqaddam*                                    Post Office Box 7857
Special Counsels                                   Madison, Wisconsin 53707-7857
Alex Finkelstein*                                  (608) 266-0810
Wil Handley*                                       bibbaj@doj.state.wi.us
Kathryn Meyer*
Assistant Attorneys General
28 Liberty Street
New York, New York 10005
(212) 416-8250
sandra.park@ag.ny.gov


  *admitted pro hac vice
  †motion for admission pro hac vice forthcoming




                                              21
      Case 1:25-cv-10548-MJJ          Document 62        Filed 03/13/25     Page 27 of 27




                                CERTIFICATE OF SERVICE

Counsel for Plaintiff States certify that they have submitted the foregoing document with the clerk
of court of the District of Massachusetts, using the electronic case filing system of the Court.
Counsel for Plaintiff States hereby certify that they have served all parties electronically or by
another manner authorized by Fed. R. Civ. P. 5(b)(2).



                                                     /s/ Adelaide Pagano
                                                     Adelaide Pagano (BBO #690518)
                                                     Assistant Attorney General

Dated: March 13, 2025
